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                                  United States District Court                                P.O. BOX 945
                                           office of the clerk                            BURLINGTON 05402-0945
                                                                                              (802) 951-6301
                                          District of Vermont
                                           Federal Building                                   P.O. BOX 607
JEFFREY S. EATON                   BURLINGTON, VERMONT 05402-0945                          RUTLAND 05702-0607
     clerk                                                                                    (802) 773-0245




                                                          March 24, 2025


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                                                           Burlington, VT 05402-0190


    Re:       Merchants Bonding Company (Mutual) et al v. Peck
              Docket No. 2:24-cv-845

    Dear Counsel:
             I am writing to you regarding the Early Neutral Evaluation (ENE) process in the above-
    captioned matter. According to our records, the ENE Evaluator was assigned on December 2,
    2024. Please advise the court, in writing, 1 by April 4, 2025 of the date and time of the ENE
    session.
                                                            Sincerely,
                                                            /s/ Lisa Wright
                                                            Acting ENE Administrator
                                                            (802) 951-8116


    cc:
              Gary L. Franklin, Esq., ENE Evaluator




    1
        Use CM/ECF event Other Documents – Response, link response to this letter.
